   Case 0:17-cv-62428-KMW Document 55 Entered on FLSD Docket 11/06/2019 Page 1 of 3
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MIAMI, FL 33128




                   RE: OBTAINING RECORDS FROM CASE : US                  SCOTTON
                       12-CR-60O49-KMW
                       17-CV-62428-KMW




          Dear clerk 's Office :


      The purpose of this letter               respectfully request the following
records from the case above :



               Government 's exhibit         count 13 and 14 which is the package
waybill and commercial invoice.

                 would also like to request pursuant                      3006A al1 court's

appointed attorneys vouch ers wh ich         should    included        the attorneys work
sheet and work history with hours conducted in th is case.
        1 have on numerous occasion requested these documents mentioned above
because theses documents are related            to my      2255 which is currently
pending            court.
         have also already been declared indigent by this Hoborab le Court on
other    occasions. Thus,          am   respectfully   requesting          theses documents
   Case 0:17-cv-62428-KMW Document 55 Entered on FLSD Docket 11/06/2019 Page 2 of 3

without any court fees .
     Please ket me know if there is any other requirements to obtained
these records wh ich is needed                        properly and effectiveky proceed with my
j 2255.

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                                                      RE NO: 99370-004
                                                      D . RAY JAMES C .F .
                                                      P.O . B0X 2000
                                                      FOLKSTON GA 31537




  THIS LETTER WAS MAILED 0N OCTOBER 26 , 2019 via, Uited States Postal
Service (USPS) certified mail through, D. Ray James C.F. legal mail.



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